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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                               :   MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :   Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :   Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :   Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Smith v. Pfizer Inc., 1:05-cv-11515-PBS                        :
                                                               :
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             SUR-REPLY DECLARATION OF ANDREW G. FINKELSTEIN, ESQ.
                    IN FURTHER OPPOSITION TO DEFENDANTS’
                        MOTION FOR SUMMARY JUDGMENT

        I, Andrew G. Finkelstein, declare and state as follows:

        1.       My name is Andrew G. Finkelstein. I am a partner with the firm of Finkelstein &

Partners, LLP, attorneys for Plaintiff Ruth Smith, in this matter. I make this declaration based on

my own personal knowledge and information.

        2.       This sur-reply declaration is submitted in further opposition to Defendants Pfizer

Inc. and Warner-Lambert Company LLC’s Motion for Summary Judgment. (ECF Doc. # 1641.)

        3.       Attached a Exhibit 1 is the [Proposed] Amended Plaintiff’s Responses to

Defendants’ Local Rule 56.1 Statement of Undisputed Material Facts and Plaintiff’s Further

Statement of Material Facts.

        4.       Attached as Exhibit 2 are excerpts from the expert report of Cheryl Blume, Ph.D.

        5.       Attached as Exhibit 3 is an excerpt from “Psychosis With Gabapentin,” a Report

for Warner Lambert by Professor Michael Trimble.
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       6.       Attached as Exhibit 4 are excerpts from the Clinical Expert Report of David J.

Rowbotham.

       7.       Attached as Exhibit 5 are excerpts from “Clinical Development in the Slipstream

of Gabapentin,” by Charles Taylor, Ph.D.

       8.       Attached as Exhibit 6 are excerpts from “Gabapentin: Pharmacology Written

Summary.”

       9.       Attached as Exhibit 7 are excerpts from the Neurontin gabapentin Product

Monograph.

       10.      Attached as Exhibit 8 are excerpts from the deposition of Leslie Tive, 7/19/2006.

       11.      Attached as Exhibit 9 are excerpts from the Pfizer Global Research &

Development Research Report No.: RR-REG 720-30134.

       12.      Attached as Exhibit 10 is an email from Maribeth Lazzaro to Tina Carriero, dated

May 13, 2005.

       13.      Attached as Exhibit 11 is a Memorandum from V. Trudeau to R. DeJong dated

05/08/90.

       14.      Attached as Exhibit 12 are excerpts from “Gabapentin: Mechanism of Mood-

altering Action,” an expert report by Stefan P. Kruszewski, M.D.

       15.      Attached as Exhibit 13 is a reprint from the internet of “Doctor accused of faking

studies,” an article from the Boston Globe dated March 11, 2009.

       16.      Attached as Exhibit 14 is a reprint from the internet of “A Medical Madoff:

Anesthesiologist Faked Data in 21 Studies,” an article from Scientific American, dated March

10, 2009.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 23, 2009, in Newburgh, New York



                                                    /s/ Andrew G. Finkelstein
                                                    Andrew G. Finkelstein, Esquire
                                                    Finkelstein & Partners, LLP
                                                    Attorneys for Plaintiff Ruth Smith
                                                    1279 Route 300, P.O. Box 1111
                                                    Newburgh, NY 12551


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on March 23, 2009.


                                                    /s/ Andrew G. Finkelstein
                                                    Andrew G. Finkelstein, Esquire




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